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1                                 UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
2

3                                                  ****
     UNITED STATES OF AMERICA,                     )
4                                                  )
                            Plaintiff,             )
5                                                  )    CASE NO. 2:24-CR-00091-ODW
     v.                                            )
6                                                  )
7    ALEXANDER SMIRNOV,                            )
                                                   )
8                      Defendant,                  )    [PROPOSED] ORDER
     _______________________________               )
9
            Upon reviewing Defendant’s Notice of Motion and Motion to Dismiss Count Two of the
10

11   Indictment, and with good cause appearing, said Motion is GRANTED pursuant to Federal Rule

12   of Criminal Procedure 12(b)(3)(B)(v) as a result of the Indictment failing to state an offense as to

13   Count two.
14
            The Court, having considered the Indictment’s allegations as true finds that no cognizable
15
     offense has been charged in Count two. The Indictment fails to allege that Mr. Smirnov was aware
16
     that an FBI form 1023 would be created as a result of his alleged June 26, 2020, conversation with
17
     the FBI handler, fails to allege that Mr. Smirnov acted with intent to obstruct an investigation, and
18

19   fails to allege that the June 26, 2020, conversation was part of an actual or contemplated

20   investigation. All are requirements to state an offense under 18 U.S.C. § 1519.
21          The Court therefore ORDERS that Count two of the Indictment is dismissed.
22
            IT IS SO ORDERED.
23
            Dated:
24

25

26                                          _______________________________
                                            Honorable Otis D. Wright II
27                                          United States District Judge

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